         Case 3:13-cr-03933-DMS                Document 130           Filed 07/25/14           PageID.417          Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                              ,'" JUL 25 PH I: 34
             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMI~ALCASE". ~., ...
                                 V.                                (For Offenses Committed On or AfterNo~emherji lYS.1.1.c~)u;;~rA
                                                                                                                              ~,"   .•' n ~
                                                                                                                               'I, '"




                                                                                                                       ~
                     NOE SALAZAR (4)
                                                                      Case Number:         13CR3933-DMS
                                                                                                                               DE1>IJT Y

                                                                   Maxine I Dobro CJA
                                                                   Defendant's Attorney
REGISTRATION NO.                 40901298
o
IZl pleaded guilty to count(s)         1 of the Superseding Information

      was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Number(s)
21 USC 952, 960, 963                  CONSPIRACY TO IMPORT A CONTROLLED SUBSTANCE                                       IS




    The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not gUilty on count(s)
IZl Count(s)     In underlying Indictment                     is         dismissed on the motion of the United States.

IZl   Assessment: $100.00.



IZl   No fine                 0 Forfeiture pursuant to order filed                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until an fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    July 25. 2014



                                                                    HON.DAN~
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                     13CR3933-DMS
        Case 3:13-cr-03933-DMS            Document 130        Filed 07/25/14      PageID.418        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                NOE SALAZAR (4)                                                        Judgment - Page 2 of 4
CASE NUMBER:              13CR3933-DMS

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
ONE HUNDRED TWENTY (120) MONTHS.




o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
\ZI    The court makes the following recommendations to the Bureau of Prisons:
       Defendant be designated to a facility in the Southwest Region of the U.S.




o       The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
             at                            A.M.              on
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

        Defendant delivered on
                                 --------------------------- to -------------------------------
 at
      ------------------------- , with a certified copy of this judgment.
                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       13CR3933-DMS
              Case 3:13-cr-03933-DMS                   Document 130              Filed 07/25/14            PageID.419            Page 3 of 4
    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   NOE SALAZAR (4)                                                                              Judgment - Page 3 of 4
    CASE NUMBER:                 13CR3933-DMS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
~         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
~
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and foIlow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notiry the probation officer at lea~t ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notiry the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
          the court; and
     13) as directed by the probation officer, the defendant shall notiry third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification requirement.



                                                                                                                                     13CR3933-DMS
      Case 3:13-cr-03933-DMS         Document 130       Filed 07/25/14   PageID.420      Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:          NOE SALAZAR (4)                                                   Judgment - Page 4 of 4
CASE NUMBER:        13CR3933-DMS

                              SPECIAL CONDITIONS OF SUPERVISION


If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
illegally; supervision waived upon deportation, exclusion, or voluntary departure.



II




                                                                                           13CR3933-DMS
